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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

 CARON NAZARIO,                                )
     Plaintiff,                                )
                                               )
                v.                             )              Civil Action No. 2:21CV169 (RCY)
                                               )
 JOE GUTIERREZ,                                )
 in his personal capacity, and                 )
 DANIEL CROCKER,                               )
 in his personal capacity,                     )
         Defendants.                           )
                                               )

                                              ORDER

        This matter is before the Court on its own initiative. In light of this Court’s prior Order

 (ECF No. 297), Plaintiff’s Motion for Leave to File Supplement to His Attorneys’ Fee Petition

 (ECF No. 292) is hereby DENIED WITHOUT PREJUDICE.

        Let the Clerk file this order electronically and notify all counsel accordingly.

        It is so ORDERED.



                                                                    /s//
                                                      Roderick C. Youngung
                                                                         ngg
                                                      United States District Judge

 Richmond, Virginia
 Date: August 16, 2024
